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 1                    DECLARATION OF AUSA VICTOR A. RODGERS
 2         I, Victor A. Rodgers, declare as follows:
 3         1.      I am one of the AUSAs representing defendants United States of America
 4   and Tracy L. Wilkison and Kristi Koons Johnson in their official capacity only
 5   (collectively, “the government”) in this action.
 6         2.      Attached hereto as Exhibit A is a true and correct copy of the search warrant
 7   for USPV, produced in discovery by the government as USAO 000001-000014.
 8         3.      Attached hereto as Exhibit B is a true and correct copy of the application
 9   and affidavit for the search warrant for USPV, produced in discovery by the government
10   as USAO 000015-000134.
11         4.      Attached hereto as Exhibit C is a true and correct copy of the seizure
12   warrant for certain business equipment located at USPV, produced in discovery by the
13   government as USAO 000135-137.
14         5.      Attached hereto as Exhibit D is a true and correct copy of the application
15   and affidavit for the seizure warrant for certain business equipment located at USPV,
16   produced in discovery by the government as USAO 000138-000246.
17         6.      Attached hereto as Exhibit E is a true and correct copy of the DIOG
18   inventory policy, produced in discovery by the government as USAO 000247-000248.
19         7.      Attached hereto as Exhibit F is a true and correct copy of the indictment
20   against USPV.
21         8.      Attached hereto as Exhibit G is a true and correct copy of the Operation
22   Order Search Plan dated March 12, 2021, produced in discovery by the government.
23         9.      Attached hereto as Exhibit H is a true and correct copy of the Supplemental
24   Instructions on Box Inventory dated March 12, 2021, produced in discovery by the
25   government.
26         10.     Attached hereto as Exhibit I is a true and correct copy of part of Exhibit 5
27   introduced during plaintiffs’ May 6, 2022 deposition of Special Agent Lynne K. Zellhart,
28   and titled “Privacy and Civil Liberties and Least Intrusive Methods.”

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 1         11.    Attached hereto as Exhibit J is a true and correct copy of the FBI’s May 20,
 2   2021 notice letter to USPV advising that the FBI was commencing administrative
 3   forfeiture proceedings as to the assets listed in the letter.
 4         12.    Attached hereto collectively as Exhibit K is a true and correct copy of a
 5   sample FD-302, FD-597 (receipt of property) and FD-886 (evidence log) form used and
 6   completed during the USPV inventory.
 7         13.    Attached hereto as Exhibit L is a true and correct copy of the transcript of
 8   the scheduling conference held on November 8, 2021, in this case.
 9         14.    Attached hereto as Exhibit M is a true and correct copy of transcript pages
10   from the deposition of plaintiff Paul Snitko.
11         15.    Attached hereto as Exhibit N is a true and correct redacted copy of plaintiffs
12   Paul and Jennifer Snitko’s April 26, 2017 executor notification letter, which was
13   introduced as Exhibit 5004 in Paul Snitko’s deposition.
14         16.    Attached hereto as Exhibit O is a photograph of Paul and Jennifer Snitko’s
15   executor notification letter, which was produced by the government in discovery as FBI
16   0000570.
17         17.    Attached hereto as Exhibit P is a true and correct copy of transcript pages
18   from the deposition of plaintiff Jennifer Snitko.
19         18.    Attached hereto as Exhibit Q is a true and correct copy of transcript pages
20   from the deposition of plaintiff Joseph Ruiz.
21         19.    Attached hereto as Exhibit R is a true and correct copy of transcript pages
22   from the deposition of plaintiff Tyler Gothier.
23         20.    Attached hereto as Exhibit S is a true and correct copy of transcript pages
24   from the deposition of plaintiff Jeni Verdon-Pearsons.
25         21.    Attached hereto as Exhibit T is a true and correct copy of transcript pages
26   from the deposition of plaintiff Michael Storc.
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 1         22.    Attached hereto as Exhibit U is a true and correct redacted copy of plaintiffs
 2   Michael Storc and Jeni Verdon-Pearsons’ September 9, 2017 executor notification letter,
 3   which was introduced as Exhibit No. 5007 in Michael Storc’s deposition.
 4         23.    Attached hereto as Exhibit V is a true and correct copy of transcript pages
 5   from the deposition of plaintiff Travis May.
 6         24.    Attached hereto as Exhibit W is a true and correct redacted copy of plaintiff
 7   Travis May’s July 29, 2017 executor notification letter, which was introduced as Exhibit
 8   No. 5005 in Travis May’s deposition.
 9         25.    Attached hereto as Exhibit X is a true and correct copy of plaintiff Joseph
10   Ruiz’s response to interrogatory number 16 in the government’s first set of
11   interrogatories to plaintiff Joseph Ruiz.
12         26.    Attached hereto as Exhibit Y is a true and correct copy of plaintiff Tyler
13   Gothier’s responses to the government’s first set of requests for admissions to plaintiff
14   Tyler Gothier.
15         27.    Attached hereto as Exhibit Z is a true and correct copy of plaintiff Paul
16   Snitko’s response to interrogatory number 14 in the government’s first set of
17   interrogatories to plaintiff Paul Snitko.
18         28.    Attached hereto as Exhibit AA is a true and correct copy of plaintiff
19   Jennifer Snitko’s response to interrogatory number 14 in the government’s first set of
20   interrogatories to plaintiff Jennifer Snitko.
21         29.    Attached hereto as Exhibit BB is a true and correct copy of plaintiff
22   Michael Storc’s response to interrogatory number 14 in the government’s first set of
23   interrogatories to plaintiff Michael Storc.
24         30.    Attached hereto as Exhibit CC is a true and correct copy of plaintiff Jeni
25   Verdon-Pearsons response to interrogatory number 14 in the government’s first set of
26   interrogatories to plaintiff Jeni Verdon-Pearsons.
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 1         31.    Attached hereto as Exhibit DD are photographs of firearms and
 2   ammunition, bearing bate stamp numbers FBI 0008478, FBI 0008481 and FBI 0008484
 3   produced in discovery to plaintiffs.
 4         32.    Attached hereto as Exhibit EE is an application for a search warrant by
 5   telephone that notes that fentanyl was found in a convicted criminal’s box.
 6         33.    Attached hereto as Exhibit FF is a true and correct copy of transcript pages
 7   from the April 28, 2022 deposition of FBI Special Agent Justin Palmerton.
 8         34.    Attached hereto as Exhibit GG is a true and correct copy of transcript pages
 9   from the May 6, 2022 deposition of FBI Special Agent Lynne Zellhart.
10         35.    Attached hereto as Exhibit HH is a true and correct copy of transcript pages
11   from the June 28, 2022 deposition of USPIS Special Agent Lyndon Versoza.
12         36.    Attached hereto as Exhibit II is a true and correct copy of transcript pages
13   from the June 30, 2022 deposition of FBI Special Agent Lynne Zellhart as a Fed. R. Civ.
14   P. 30(b)(6) witness.
15         37.    Attached hereto as Exhibit JJ is a true and correct copy of transcript pages
16   from the July 6, 2022 deposition of DEA Special Agent Justin Carlson.
17         38.    Attached hereto as Exhibit KK is a true and correct copy of transcript pages
18   from the July 11, 2022 deposition of FBI Special Agent Jessie Murray as a Fed. R. Civ.
19   P. 30(b)(6) witness.
20         39.    The government has produced in discovery over 4,000 pages of inventory
21   documents and 60 videotapes of inventory documents. In total, the government has
22   produced over 5,400 pages of documents. Plaintiffs have produced approximately 150
23   pages of documents.
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 1         40.    Attached hereto as Exhibit LL is a letter dated June 23, 2021 from counsel
 2   for USPV to the FBI reflecting the withdrawal of the USPV claim, which was never
 3   signed by USPV and thus not in compliance with 28 C.F.R. § 8.10(b)(3) which provides
 4   that a claim cannot be signed by counsel.
 5         I declare under penalty of perjury under the laws of the United States of America
 6   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
 7   California, on August 9, 2022.
 8                                                                /s/ ___________
                                                          AUSA VICTOR A. RODGERS
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